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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

  MAX STORY, et al., on behalf of
  themselves and all others similarly situated,

                        Plaintiffs,                       No. 3:19-cv-724-TJC

  v.

  HEARTLAND PAYMENT SYSTEMS,
  LLC,

                        Defendant.



  PLAINTIFFS’ UNOPPOSED MOTION TO SEAL UNDER LOCAL RULE 1.11

              Pursuant to Local Rule 1.11(b), Plaintiffs Max Story and Nancy Murrey-Settle

  hereby move to file provisionally under seal portions of Plaintiffs’ Unopposed

  Motion for Preliminary Approval of Class Action Settlement. Plaintiffs conferred

  with Heartland through counsel and Heartland does not oppose this motion.

  I.          Identification of the Material

              Plaintiffs seek to file the following material under seal:


              Document                         Description                       Sealing

   Plaintiffs’ Unopposed          Portions of the Motion that reflect      Partial redaction.
   Mot. for Prelim.               information which Heartland
   Approval of Class              previously designated Confidential
   Action Settlement and          under the Protective Order (Dkt.
   Mem. of Law                    162) and the Court previously
                                  ordered sealed (Dkts. 205, 225).




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  II.         Filing Under Seal Is Necessary

              In accordance with the parties’ protective order, Plaintiffs must file this

  material under seal because Heartland has designated it Confidential. See Dkt. 162 at

  15. Plaintiffs take no position on whether good cause supports sealing the materials.

  See Romero v. Drummond Co., Inc., 480 F.3d 1234, 1246 (11th Cir. 2007) (to overcome

  the public’s right of access, the designating party must show there is good cause for

  sealing the documents) (internal quotations omitted). Under the local rules,

  Heartland bears the burden to demonstrate that sealing is warranted. Local Rule

  1.11(c).

              Contemporaneously with this filing, Plaintiffs will file a public version of the

  Motion described above with references to materials that Heartland has designated

  Confidential redacted. Plaintiffs will also file a version of the Motion that includes

  highlights over the text that will be redacted from the public copy.

  III.        Duration of the Provisional Seal

              Plaintiffs seek to provisionally seal this material until Heartland substantiates

  the basis for maintaining the material under seal.

  IV.         Authorized Persons

              The following persons are authorized to retrieve a sealed, tangible item from

  the Court:

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  V.          Conclusion

              Plaintiffs respectfully request that the Court grant its motion to provisionally

  seal the material identified herein.



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   April 1, 2025               /s/ Jason L. Lichtman

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                               LOCAL RULE 3.01(g) CERTIFICATION

              Under Middle District of Florida Local Rule 3.01(g), I, Sarah D. Zandi, certify

  that Plaintiffs’ counsel have conferred with counsel for Defendant, and Defendant

  does not oppose the requested relief.



                                     CERTIFICATE OF SERVICE

              On April 1, 2025, I caused to be electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF, which will deliver the document to all

  counsel of record.

                                                                          /s/ Sarah D. Zandi




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